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UNITED STATES DISTRICT COURT 77/}/
WESTERN DISTRICT OF TENNESSEE .\ j 55 y ~-
Western Division

   

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-vs- Case No. 2:97cr20]90-Ma
KENNETH MCMULLEN

 

ORDER OF DETENT|ON PEND|NG REVOCAT|ON
FIN DlNGS
ln accordance With the Bail Reform Act, 18 U.S.C. § 3142(i), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release Will reasonably assure the
safety of any other person and the community

This conclusion is based on the findings and analysis of the matters enumerated in l 8 U.S .C.
§ 3142(g] as stated on the record in open court at the detention hearing

DIRECT|ONS REGARDING DETENT|ON

KENNETH MCMULLEN is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. KENNETH MCMULLEN shall be afforded a reasonable
opportunity for private consultation with defense counsel 011 order of a Court of the United States or on request of an
attomey for the govemrnent, the person in charge of the corrections facility shall deliver the Defendant to the United
States marshal for the purpose of an appearance in connection with a Court proceedingl

Date: April 22, 2005

 

rrb M. PHAM
UNITED srATEs MAGisTRATE JUDGE

 

   

UNITD sTATES DRISTIC COURT - ESTERN DISITRCT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 47 in
case 2:97-CR-20190 Was distributed by faX, mail, or direct printing on
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PDA

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Honorable Samuel Mays
US DISTRICT COURT

